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                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NORTH DAKOTA


            In Re:                                             Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                  Chapter 11

                                  Debtor.


             DEBTOR’S MOTION FOR INTERIM AND FINAL ORDERS: (I) AUTHORIZING
             THE DEBTOR TO (A) CONTINUE PREPETITION INSURANCE POLICIES, AND
             (B) PAY ALL PREPETITION OBLIGATIONS IN RESPECT THEREOF; AND (II)
              AUTHORIZING BANKS TO HONOR RELATED CHECKS AND TRANSFERS


                     Vanity Shop of Grand Forks, Inc. (“Debtor”) in the above-captioned chapter 11 case

            hereby moves the Court (“Motion”) for entry of an interim order (“Interim Order”) and a

            final order (“Final Order”), substantially in the forms attached hereto as Exhibit A and

            Exhibit B, respectively, pursuant to Sections 105(a) and 363 of Title 11 of the United States

            Code, 11 U.S.C. §§ 101-1532 (“Bankruptcy Code”), Rules 6003 and 6004 of the Federal

            Rules of Bankruptcy Procedure (“Bankruptcy Rules”): (i) authorizing, but not directing,

            Debtor to: (a) continue to maintain and administer its prepetition insurance policies and

            revise, extend, renew, supplement, or change such policies, as needed, and (b) pay or honor

            obligations outstanding on account of prepetition insurance policies, if any; and

            (ii) authorizing Debtor’s banks and other financial institutions (collectively “Banks”) to

            honor and process related checks and electronic transfers. In support of this Motion, Debtor

            relies on the Declaration of Jill Motschenbacher in Support of Chapter 11 Petition and First

            Day Motions (“First Day Declaration”), which was filed contemporaneously with this




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            Motion and is incorporated herein by reference. In further Support of this Motion, Debtor

            respectfully represents as follows:

                                           JURISDICTION AND VENUE

                     1.    The Court has jurisdiction over this Chapter 11 case and this Motion pursuant

            to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b), and

            Debtor consents to entry of a final order by the Court in connection with this Motion to the

            extent it is later determined the Court, absent consent of the parties, cannot enter final order

            or judgments in connection herewith consistent with Article III of the United States

            Constitution. Venue of this Chapter 11 case and this Motion in this district is proper under

            28 U.S.C. §§ 1408 and 1409.

                     2.    The statutory bases for the relief requested herein are Sections 105(a) and

            363(b) of the Bankruptcy Code and the Bankruptcy Rules 6003 and 6004.

                                                   BACKGROUND

            I.       GENERAL

                     3.    On the date hereof (“Petition Date”), Debtor commenced a voluntary case

            under Chapter 11 of the Bankruptcy Code. Debtor is authorized to continue to operate its

            business and manage its property as debtor in possession pursuant to Sections 1107(a) and

            1108 of the Bankruptcy Code. To date, no trustee, examiner, or statutory committee has

            been appointed in this Chapter 11 case. Additional factual background relating to Debtor’s

            business, capital structure, and the commencement of this Chapter 11 case is set forth in

            further detail in the First Day Declaration.




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            II.    OVERVIEWS OF INSURANCE POLICIES

                   4.      In the ordinary course of business, Debtor maintains a carefully designed and

            vitally important insurance program (the “Insurance Program”). This program includes

            multiple insurance policies (each a “Policy” and, collectively, the “Policies”). The Insurance

            Policies vary in amounts and types of coverage in accordance with prudent business

            practices, state and local laws governing the jurisdictions in which Debtor operates and

            various contractual obligations. The Insurance Policies include (i) general liability, (ii) auto,

            and (iii) umbrella, among others. 1 The Policies that are the subject of this Motion are listed

            in the schedule attached hereto as Exhibit C (“Insurance Schedule”). 2 For each Policy, the

            Insurance Schedule includes, among other things: (i) the corresponding insurance carrier

            (individually “Insurance Carrier,” and collectively “Insurance Carriers”); (ii) the

            corresponding broker; (iii) the last four digits of the policy number; (iv) annual premium; and

            (v) an estimate of prepetition amounts owed.




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                      Contemporaneously herewith, Debtor has filed the Debtor’s Motion for Entry of an
            Order: (i) Authorizing Debtor to Pay and Honor Certain Prepetition Wages, Benefits, and Other
            Compensation Obligations, (ii) Honor Management Services Agreement and Pay Prepetition
            Obligations Related Thereto, and (iii) Authorizing Banks to Honor and Process Checks and
            Transfers Related to Such Obligations (“Employee Wages Motion”). The Employee Wages
            Motion seeks, among other things, authority to continue to (i) provide various benefits, including
            applicable insurance coverage, for employee health and welfare programs, and (ii) administer its
            workers’ compensation program and honor all obligations in connection therewith in the
            ordinary course of business. These programs and policies are not listed on the Insurance
            Schedule, and the maximum allowances for payment of prepetition insurance obligations listed
            in this Motion are exclusive of any amounts for which payment authority may be sought in the
            Employee Wages Motion.
                   2
                     The Policies summarized on the Insurance Schedule are representative only and are not
            intended to restrict the Debtors from changing carriers or programs, or adding different types of
            insurance, in the ordinary exercise of Debtor’s discretion.


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                   5.     The Policies are essential to the preservation of the value of Debtor’s business,

            property, and assets during Debtor’s ongoing wind down. Not only are some of the Policies

            required by the various regulations, laws, and contracts that govern Debtor’s commercial

            activities, but Section 1112(b)(4)(C) of the Bankruptcy Code provides “failure to maintain

            appropriate insurance that poses a risk to the estate or to the public” is “cause” for mandatory

            conversion or dismissal of a chapter 11 case. 11 U.S.C. § 1112(b)(4)(C).

                   6.     The total annual premiums under the current Insurance Policies are

            approximately $392,515.00. 3 These premiums are paid to the relevant Insurance Carriers

            either as annual prepayments or as installment payments. The estimated prepetition amount

            owing to the Insurance Carriers is $57,919.00.        Debtor seeks authority pay prepetition

            amounts owed on the Policies in an amount not to exceed $65,000.00.

                                               RELIEF REQUESTED

                   7.     By this Motion, Debtor seeks entry of interim and final orders (i) authorizing,

            but not directing, Debtor to (a) continue to maintain and administer the Policies and revise,

            extend, renew, supplement, or change the Policies, as needed, and (b) pay or honor

            obligations outstanding on account of the Policies in the ordinary course of business; and

            (ii) authorizing the Banks to honor and process related checks and electronic transfers. 4



                   3
                      Calculations for total annual premiums and for the annual premium under each Policy
            listed in the Insurance Schedule include additional charges on certain policies such as broker
            commissions, surcharges, policy fees, and charges for surplus lines. Debtor seeks to make
            payments to these charges as well as on the base premiums due.
                   4
                     Nothing in this Motion should be construed as an assumption of any executory contract
            or unexpired lease between Debtor and any other party, nor should it be construed as a rejection
            of any executory contract or unexpired leases. Debtor reserves its right to contest the amount
            claimed to be due by any person or entity.


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                                                 BASIS OF RELIEF

            I.       CONTINUATION OF THE INSURANCE PROGRAM AND PAYMENT OF
                     PREPETITION OBLIGATIONS IN RESPECT THEREOF ARE NECESSARY
                     AND APPROPRIATE

                     8.   The Court may grant the relief requested herein pursuant to Section 363 of the

            Bankruptcy Code. Section 363(b)(1) provides a debtor in possession, “after notice and a

            hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

            estate.” 11 U.S.C. § 363(b)(1). Under this Section, a court may authorize a debtor to pay

            certain prepetition claims. See, e.g., In re Ionosphere Clubs, Inc., 98 B.R. 174, 175 (Bankr.

            S.D.N.Y. 1989) (finding that a sound business justification existed to justify payment of

            prepetition wages); see also Armstrong World Indus., Inc. v. James A. Phillips, Inc. (In re

            James A. Phillips, Inc.), 29 B.R. 391, 397 (S.D.N.Y. 1983) (relying on Section 363 of the

            Bankruptcy Code to allow a contractor to pay prepetition claims of suppliers who were

            potential lien claimants because the payments were necessary for general contractors to

            release funds owed to debtors).      To do so, “the debtor must articulate some business

            justification, other than the mere appeasement of major creditors.” 98 B.R. at 175.

                     9.   In addition, Sections 1107(a) and 1108 of the Bankruptcy Code authorize a

            debtor in possession to continue to operate its business. 11 U.S.C. §§ 1107(a), 1108. Indeed,

            a debtor in possession operating a business under Section 1108 of the Bankruptcy Code has a

            duty to protect and preserve the value of its business, and prepetition claims may be paid if

            necessary to perform the debtor’s duty. See In re CoServe, L.L.C., 273 B.R. 487, 497

            (Bankr. N.D. Tex. 2002) (“There are occasions when this duty can only be fulfilled by the

            preplan satisfaction of a prepetition claim.”). The CoServ court specifically noted the pre-




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            plan satisfaction of prepetition claims would be a valid exercise of the debtor’s fiduciary duty

            when the payment “is the only means to effect a substantial enhancement of the estate.” Id.

                   10.    To supplement these explicit powers, Section 105(a) of the Bankruptcy Code

            empowers the Court to “issue any order, process, or judgment that is necessary or appropriate

            to carry out the provisions of this title.” 11 U.S.C. § 105(a). Numerous courts have

            recognized that payments to prepetition creditors are appropriate pursuant to Section 105(a)

            of the Bankruptcy Code under the “doctrine of necessity” or the “necessity of payment” rule

            where such payments are necessary to the continued operation of the debtor’s business. See,

            e.g., In re Lehigh & New England Ry. Co., 657 F.2d 570, 581 (3d Cir. 1981) (holding a court

            could authorize the payment of prepetition claims if such payment was essential to the

            continued operation of the debtor); In re Penn Cent. Transp. Co., 467 F.2d 100, 102 n.1

            (3d Cir. 1972) (holding the necessity of payment doctrine permits “immediate payment of

            claims of creditors where those creditors will not supply services or material essential to the

            conduct of the business until their pre-reorganization claims have been paid”); In re

            Ionosphere Clubs, 98 B.R. at 176 (recognizing “the existence of the judicial power to

            authorize a debtor . . . to pay prepetition claims where such payment is essential to the

            continued operations of the debtor.”); see also In re Payless Cashways, Inc., 268 B.R. 543,

            546 (Bankr. W.D. Mo. 2001) (“Since enactment of the Code various courts have permitted

            debtors-in-possession to pay pre-petition debts on the grounds that payment of such claims

            was necessary to effectuate a successful reorganization, or at least to give the debtor the

            opportunity to propose any type of plan at all.”); In re Wehrenberg, Inc., 260 B.R. 468, 469

            (Bankr. E.D. Mo. 2001) (“Pursuant to 11 U.S.C. § 105(a) the Court may authorize the




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            payment of prepetition claims when such payments are necessary to the continued operation

            of the Debtor.”); In re Just for Feet, Inc., 242 B.R. 821, 825 (D. Del. 1999) (“The Supreme

            Court, the Third Circuit and the District of Delaware all recognize the court's power to

            authorize payment of pre-petition claims when such payment is necessary for the debtor's

            survival during chapter 11.”); In re Columbia Gas Sys., Inc.,171 B.R. 189, 191-92 (Bankr. D.

            Del. 1994) (finding that a debtor is entitled to pay certain prepetition creditors upon a

            showing that the payment is “essential to the continued operation of the business” (citations

            omitted)).

                   11.    The relief sought by this Motion is appropriate under each of the foregoing

            standards. In light of the importance of maintaining insurance coverage with respect to its

            business activities, Debtor believes it is in the best interest of its estate to maintain the

            Policies and to pay any prepetition premiums necessary to do so, as well as to revise, extend,

            supplement, or change insurance coverage, as necessary, pursuant to Section 363(b)(1) of the

            Bankruptcy Code. If the Policies lapse, or if certain of the Insurance Carriers cancel the

            Policies or otherwise refuse to continue doing business with Debtor, on account of unpaid

            premiums, before Debtor is able to find replacement coverage, Debtor’s estate could be

            exposed to significant liabilities.   The loss of any insurance coverage would impose

            considerable administrative and financial burden on Debtor, requiring Debtor’s management

            to expend significant attention and resources to secure replacement coverage at a critical

            juncture in this Chapter 11 case.




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            II.    THE BANKS SHOULD BE AUTHORIZED TO HONOR AND PROCESS
                   PAYMENTS ON ACCOUNT OF PREPETITION OBLIGATIONS IN
                   RESPECT OF THE INSURANCE PROGRAM

                   12.    Debtor represents it has sufficient funds to pay the amounts described herein in

            the ordinary course of business by virtue of expected cash flows from ongoing business

            operations, and anticipated access to cash collateral. As a result of the commencement of

            this Chapter 11 case and in the absence of a Court order providing otherwise, Debtor’s

            checks and electronic fund transfers on account of prepetition obligations related to the

            Insurance Program may be dishonored or rejected by financial institutions. Under Debtor’s

            cash management system, Debtor can readily identify checks or transfers as relating directly

            to payment of prepetition obligations related to the Insurance Program. Accordingly, Debtor

            believes prepetition checks and transfers other than those related to the Insurance Program or

            as otherwise authorized by this Court will not be honored inadvertently. Debtor submits the

            Banks should be authorized to rely on Debtor’s representations with respect to whether any

            check drawn or transfer request issued by Debtor prior to the Petition Date should be

            honored pursuant to this Motion.

                                     IMMEDIATE RELIEF IS JUSTIFIED

                   13.    Bankruptcy Rule 6003 provides the relief requested in this Motion may be

            granted if the “relief is necessary to avoid immediate and irreparable harm.” Fed. R. Bankr.

            P. 6003. As described above, any disruption of the Insurance Program, would substantially

            diminish or impair Debtor’s efforts in this Chapter 11 case to preserve and maximize the

            value of its estate. For this reason, and those set forth above, Debtor respectfully submits




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            Bankruptcy Rule 6003(b) has been satisfied and the relief requested herein is necessary to

            avoid immediate and irreparable harm to Debtor and its estate.

                                     WAIVER OF ANY APPLICABLE STAY

                   14.     Debtor also requests the Court waive the stay imposed by Bankruptcy Rule

            6004(h), which provides “[a]n order authorizing the use, sale, or lease of property other than

            cash collateral is stayed until the expiration of 14 days after entry of the order, unless the

            court orders otherwise.” Fed. R. Bankr. P. 6004(h). As described above, the relief requested

            is necessary for Debtor to operate its business and conduct the Store Closing Sales without

            interruption, thereby preserving value for its estate.       Accordingly, Debtor respectfully

            requests the Court waive the fourteen-day stay imposed by Bankruptcy Rule 6004(h), as the

            exigent nature of the relief sought herein justifies immediate relief.

                                                       NOTICE

                   15.     Notice of this Motion has been given to: (i) the Office of the United States

            Trustee for the District of North Dakota; (ii) counsel to Wells Fargo Bank, National

            Association; (iii) holders of the twenty (20) largest unsecured claims on a consolidated basis

            against Debtor; (iv) the insurance carriers and brokers (if applicable); (v) the Banks;

            (vi) counsel to any committee appointed in this case; and (vii) any party that has requested

            notice pursuant to Bankruptcy Rule 2002. Debtor submits, in light of the nature of the relief

            requested, no other or further notice need be given.




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                                                    CONCLUSION

                   16.     WHEREFORE, Debtor respectfully requests entry of interim and final orders,

            substantially in the forms attached hereto as Exhibit A and Exhibit B, respectfully,

            (i) granting the relief requested herein, and (ii) granting such other relief as is just and proper.

                   Dated this 1st day of March, 2017.

                                                          VOGEL LAW FIRM


                                                     BY: /s/ Caren W. Stanley
                                                         Jon R. Brakke (#03554)
                                                         jbrakke@vogellaw.com
                                                         Caren W. Stanley (#06100)
                                                         cstanley@vogellaw.com
                                                         218 NP Avenue
                                                         PO Box 1389
                                                         Fargo, ND 58107-1389
                                                         Telephone: 701.237.6983
                                                         PROPOSED COUNSEL TO DEBTOR IN
                                                         POSSESSION




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                                            EXHIBIT A

                                      (Proposed Interim Order)




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                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NORTH DAKOTA


            In Re:                                              Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                   Chapter 11

                                  Debtor.


                 INTERIM ORDER: (I) AUTHORIZING DEBTOR TO (A) CONTINUE
              PREPETITION INSURANCE POLICIES, AND (B) PAY ALL PREPETITION
             OBLIGATIONS IN RESPECT THEREOF; AND (II) AUTHORIZING BANKS TO
                        HONOR RELATED CHECKS AND TRANSFERS


                     Upon the Motion 1 of Debtor for entry of this Interim Order pursuant to Sections

            105(a) and 363(b) of the Bankruptcy Code, and Bankruptcy Rules 6003 and 6004:

            (i) authorizing Debtor to (a) continue to maintain and administer prepetition insurance

            policies and revise, extend, renew, supplement, or change such policies, as needed, and

            (b) pay or honor obligations outstanding on account of prepetition insurance policies, if any;

            and (ii) authorizing the Banks to honor related checks and transfers; and upon the First Day

            Declaration; and it appearing this Court has jurisdiction to consider the Motion pursuant to

            28 U.S.C. §§ 1334 and 157; and it appearing the Motion is a core matter pursuant to

            28 U.S.C. § 157(b)(2) and this Court may enter a final order consistent with Article III of the

            United States Constitution; and it appearing venue of this Chapter 11 case and of the Motion

            is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing due and adequate notice

            of the Motion and the hearing thereon having been given; and it appearing no other or further


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                      Capitalized terms used but not otherwise defined herein shall have the meanings
            ascribed to them in the Motion.



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            notice being necessary; and it appearing the legal and factual bases set forth in the Motion

            establish just cause for the relief granted herein; and this Court having determined the relief

            sought in the Motion is in the best interests of Debtor, its estate, its creditors, and other

            parties in interest; and after due deliberation and sufficient cause appearing therefore;

                   IT IS HEREBY ORDERED:

                   1.      The Motion is GRANTED on an interim basis as set forth herein.

                   2.      Debtor is authorized, but not directed, to (i) continue to maintain and perform

            under its Insurance Program, and (ii) revise, extend, renew, supplement, or change the

            Policies or enter into new policies, if necessary, in the ordinary course of business consistent

            with Debtor’s past practice.

                   3.      The Banks are authorized, when requested by Debtor, in Debtor’s discretion,

            to process and honor all checks and fund transfer requests for prepetition obligations related

            to the Insurance Program that Debtor is authorized to pay pursuant to this Order, regardless

            of whether the checks were presented or fund transfer requests were submitted before or after

            the Petition Date, provided, funds are available in Debtor’s accounts to cover the checks and

            fund transfers. The Banks are authorized to rely on Debtor’s designation of any particular

            check or fund transfer request to be honored.

                   4.      Debtor is authorized to issue postpetition checks or to effect postpetition fund

            transfer requests in replacement of any checks or fund transfer requests in respect of any

            prepetition obligations authorized in this Order that were dishonored or rejected as a

            consequence of the commencement of this Chapter 11 case.




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                   5.     Nothing herein shall alter any noticing or other obligations of Debtor relating

            to any of the Policies or payment of any obligation relating to the Insurance Program.

                   6.     Nothing in the Motion or this Order, nor as a result of any payment made

            pursuant to this Order, shall be deemed or construed as (i) an admission as to the validity or

            priority of any claim or lien against Debtor or an approval or assumption of any agreement,

            contract, or lease pursuant to Section 365 of the Bankruptcy Code or (ii) a waiver of the right

            of Debtor, or shall impair the ability of Debtor, to contest the validity or amount of any

            payment made pursuant to this Order.

                   7.     Objections to entry of an order granting the Motion on a final basis must be

            filed by ________________ ___, 2017 at 4:00 p.m. prevailing Central Time and served on:

            (i) proposed counsel to Debtor, Vogel Law Firm 218 NP Avenue, PO Box 1389, Fargo,

            North Dakota 58107-1389, Attn: Jon R. Brakke, Caren W. Stanley; (ii) the U.S. Trustee,

            Office of the United States Trustee, 314 S. Main Avenue, Suite 303, Sioux Falls, South

            Dakota 57104; and (iii) counsel to any statutory committee appointed in this Chapter 11 case.

            A final hearing, if required, on the Motion will be held on ______________________, 2017

            at ___________ __.m. prevailing Central Time. If no objections are filed to the Motion, this

            Court may enter a final order without further notice or hearing.

                   8.     Debtor is authorized to take all actions necessary to effectuate the relief

            granted pursuant to this Order in accordance with the Motion.

                   9.     Debtor shall serve this Order on the Insurance Carriers no later than two

            business days after the date this Interim Order is entered.




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                   10.    Bankruptcy Rule 6003(b) has been satisfied because the relief requested in the

            Motion is necessary to avoid immediate and irreparable harm to Debtor.

                   11.    The requirements of Bankruptcy Rule 6004(a) are hereby waived to avoid

            immediate and irreparable harm to Debtor.

                   12.    Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

            Order shall be immediately effective and enforceable upon its entry.

                   13.    This Court shall retain jurisdiction over any and all matters arising from or

            related to the interpretation or implementation of this Order.

                   Dated this ____ day of March, 2017.

                                                         _______________________________________
                                                         UNITED STATES BANKRUPTCY JUDGE




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                                            EXHIBIT B

                                       (Proposed Final Order)




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                                    UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NORTH DAKOTA


            In Re:                                              Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                   Chapter 11

                                   Debtor.


            FINAL ORDER: (I) AUTHORIZING DEBTOR TO (A) CONTINUE PREPETITION
             INSURANCE POLICIES, AND (B) PAY ALL PREPETITION OBLIGATIONS IN
            RESPECT THEREOF; AND (II) AUTHORIZING BANKS TO HONOR RELATED
                                 CHECKS AND TRANSFERS


                     Upon the Motion 1 of Debtor for entry of this Final Order pursuant to Sections 105(a)

            and 363(b) of the Bankruptcy Code, Bankruptcy Rules 6003 and 6004: (i) authorizing Debtor

            to (a) continue to maintain and administer prepetition insurance policies and revise, extend,

            renew, supplement, or change such policies, as needed, and (b) pay or honor obligations

            outstanding on account of prepetition insurance policies, if any; and (ii) authorizing the

            Banks to honor related checks and transfers; and upon consideration of the First Day

            Declaration; and it appearing this Court has jurisdiction to consider the Motion pursuant to

            28 U.S.C. §§ 1334 and 157; and it appearing the Motion is a core matter pursuant to

            28 U.S.C. § 157(b)(2) and this Court may enter a final order consistent with Article III of the

            United States Constitution; and proper and adequate notice of the Motion and the hearing

            thereon having been given; and it appearing that no other or further notice being necessary;

            and the Court having entered certain Interim Order: (i) Authorizing Debtor to (a) Continue


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                      Capitalized terms used but not otherwise defined herein shall have the meanings
            ascribed to them in the Motion.



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            Prepetition Insurance Policies, and (b) Pay All Prepetition Obligations in Respect Thereof;

            and (ii) Authorizing Banks to Honor Related Checks and Transfers (Doc. No. _____); and it

            appearing the legal and factual bases set forth in the Motion establish just cause for the relief

            granted herein; and this Court having determined the relief sought in the Motion is in the best

            interests of Debtor, its estate, its creditors, and other parties in interest; and after due

            deliberation, and good and sufficient cause appearing therefore,

                   IT IS HEREBY ORDERED:

                   1.     The Motion is GRANTED on a final basis as set forth herein.

                   2.     Debtors is authorized, but not directed, to (i) continue to maintain and perform

            under their Insurance Program, and (ii) revise, extend, renew, supplement, or change the

            Policies (including the Financed Policies) or enter into new policies, if necessary, in the

            ordinary course of business consistent with the Debtor’s past practice.

                   3.     The Banks are authorized, when requested by Debtor, in Debtor’s discretion,

            to process and honor all checks and fund transfer requests for prepetition obligations related

            to the Insurance Program that Debtor is authorized to pay pursuant to this Order, regardless

            of whether the checks were presented or fund transfer requests were submitted before or after

            the Petition Date, provided, funds are available in Debtor’s accounts to cover the checks and

            fund transfers. The Banks are authorized to rely on Debtor’s designation of any particular

            check or fund transfer request to be honored.

                   4.     Debtor is authorized to issue postpetition checks or to affect postpetition fund

            transfer requests in replacement of any checks or fund transfer requests in respect of any




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            prepetition obligations authorized in this Order that were dishonored or rejected as a

            consequence of the commencement of this Chapter 11 case.

                   5.     Nothing herein shall alter any noticing or other obligations of Debtor under

            any of the Policies or payment of any obligation relating to the Insurance Program.

                   6.     Nothing in the Motion or this Order, nor as a result of any payment made

            pursuant to this Order, shall be deemed or construed as (i) an admission as to the validity or

            priority of any claim or lien against Debtor or an approval or assumption of any agreement,

            contract, or lease pursuant to Section 365 of the Bankruptcy Code or (ii) a waiver of the right

            of Debtor, or shall impair the ability of Debtor, to contest the validity or amount of any

            payment made pursuant to this Order.

                   7.     Debtor is authorized to take all actions necessary to effectuate the relief

            granted pursuant to this Order in accordance with the Motion.

                   8.     The requirements of Bankruptcy Rule 6004(a) are hereby waived to avoid

            immediate and irreparable harm to Debtor.

                   9.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

            Order shall be immediately effective and enforceable upon its entry.

                   10.    This Court shall retain jurisdiction over any and all matters arising from or

            related to the interpretation or implementation of this Order.

                   Dated this ____ day of March, 2017.

                                                         _______________________________________
                                                         UNITED STATES BANKRUPTCY JUDGE




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2813121.3
            Case 17-30112   Doc 14   Filed 03/01/17 Entered 03/01/17 09:35:27   Desc Main
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                                            EXHIBIT C

                                        (Insurance Schedule)




2813121.3
                                                                                          VANITY SHOP OF GRAND FORKS, INC.

                                                                                               Insurance Providers/Coverage
                                                                                                    As of March 1, 2017
                                                                                                                                                                                                                                   Prepetition Last Four
                                                                                                                                                                                                                        Annual      Amount     Digits of
           Coverage                    Broker                    Broker Notice Address                                 Carrier                              Carrier Notice Address                                     Premium*      Owing      Policy #
                              HUB International
Commercial Package            Mountain States Limited   3533 Gabel Road, Billings, MT 59102‐7307 Continental Western Insurance Company              660 East Watertower Street, Meridian, ID                            $164,031      $40,596      7421
                              HUB International
Worker's Compensation         Mountain States Limited   3533 Gabel Road, Billings, MT 59102‐7307 Liberty Mutual Fire Insurance Company              175 Berkeley St ‐ MS 10B, Boston, MA 021 $186,582                                      $0      0016
                              HUB International




                                                                                                                                                                                                Case 17-30112
ERISA Fidelity bond           Mountain States Limited   3533 Gabel Road, Billings, MT 59102‐7307 Hartford Fire Ins Co Policy                        1 Hartford Plz, Hartford, CT 06115‐1703                                $311            $0      5265
                              HUB International
Ocean Marine Cargo            Mountain States Limited   3533 Gabel Road, Billings, MT 59102‐7307   The Continental Insurance Company                Ambest Road, Oldwick, NJ 08858                                       $12,500       $1,643      0533
Worker's Compensation‐OH      NA                        NA                                         BWC Ohio Bureau of Workers Comp                  PO Box 89492, Cleveland, OH 44101                                     $5,500       $1,400      6926
Worker's Compensation‐ND      NA                        NA                                         Workforce Safety & Insurance Employer Services   1600 East Century Avenue, Suite 1, PO Bo                             $10,000      $10,000      7157
Worker's Compensation‐WY      NA                        NA                                         Department of Workforce Services                 PO Box 20006, Cheyenne, WY 82003                                      $2,100        $325       5280
Worker's Compensation‐WA      NA                        NA                                         Washington State Dept of Labor & Industries      PO Box 24106, Seattle, WA 98124                                       $8,770       $1,350      4532

Employee Health/Dental        NA                        NA                                         Blue Cross Blue Shield of North Dakota           PO Box 6005, Fargo, ND 58108‐6005                                   $111,000           $0      1501
Employee Group Life/STD       NA                        NA                                         Unum Life Insurance Company of America           PO Box 406946, Atlanta, GA 30384‐6946                                $47,000           $0      0026




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Voluntary Employee Life       NA                        NA                                         Unum Life Insurance Company of America           PO Box 406946, Atlanta, GA 30384‐6946                                 $2,700           $0      0026
Voluntary Employee Vision     NA                        NA                                         Avesis Third Party Administrators, Inc.          PO Box 52718, Phoenix, AZ 85072                                      $11,500           $0      4002
Voluntary Employee Hospital
Indemnity/Cancer/AD&D         NA                        NA                                         AFLAC                                            1932 Wynnton Road, Columbus, GA 3199                                 $20,000       $1,800      GA57




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